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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
UNITED s'rATEs oF AMERICA §
vs. § CRIMINAL NO.: H-4:18-cr-00306
JUAN MONTOYA-PALACIOS, and §
ISAEL JUAN-PEREZ, §
Defendants. ` §

HB;ULA_'LI_Q_N.
'I`O THE HONORABLE JUDGE OF SAID COURT:

Come now the United States of America, by and through the United States Attomey for the
Southem District of Texas, and Defendants, Juan Montoya»Palacios (“Montoya-Palacios”) through
his counsel, Amr Adnan Ahmed, and lsael Juan-Perez (“Juan-Perez”) through his counsel Anuj Arun
Shah, and hereby submit the following stipulation:

WHEREAS, there are certain alien witnesses, Richard Viera Dos Santos (Brazil), Kristian
Ariel Zapet~Alvarado (Guatemala), and Jose Juan Lopez-Hemandez (Guatemala), (collectively
“witnesses”), in this case.

WHEREAS, the witnesses wish to retum to their home countries oquatemala and Brazil.

WHEREAS, the United States wishes to return the witnesses to their home country.

WHEREAS, Depositions of the witnesses are scheduled in June, 2018 at the United States
Federal Courthouse, 515 Rusk Avenue, Houston, Texas 77002. Defendants do not wish to depose
the witnesses and voluntarily waive their right to do so.

Consequently, the United States and Defendants (ai’cer having conferred with his counsel)

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wish to enter into the following stipulation:

l. Defendants stipulate and agrees the witnesses are aliens and citizens of the
Guatemala, except for Richard Viera Dos Santos, who is a citizen of Brazil, who illegally entered the
United States by crossing the Rio Grande River at a time and place other than as designated by
immigration officials for the entry of immigrants into the United States prior May 7, 2018. The
statements made by the Witnesses as contained in their sworn affidavits as well as documented in the
case agent’s Reports of investigation of the Witnesses, all given in discovery, are admissible at the
trial of this case. The testimony from the preliminary hearings in this case are also incorporated by
reference as part of the stipulation.

2. On or about May 7, 2018, Defendants were arrested in the Southem District of Texas
for Concealing, Harboring, Shie|ding from Detection, Attempted to Conceal, Harbor and Shield
from Detection, and Conspiring to Conceal, Harbor and Shield from Detection Undocumented
Aliens for commercial advantage and private financial gain, in violation of Title 8, United States
Code, Sections l324(a)(l)(A)(iii), (a)(l)(A)(v)(I), and (B)(i).

3. Material witness Dos Santos will testify that he and his family agreed to pay a
“Brazilian coyote” he knew as “Anderson” $20,000 to have him illegally transported from Brazil to
Massachusetts; however Anderson later changed the price to $43,000. Pa.rt of that transportation
included being harbored at Defendants’ residence at 314 Hill Road, Trailer 5, Houston, Texas, which
' he arrived at on May 4, 2018. He will timber testify that he took a plane from Brazil to Cancun on
March 27, 2018. He then illegally entered the United States through the Rio Grande River and

made it through the checkpoint in a van before being taken to Defendants’ residence Dos Santos

will further testify that Defendant Montoya-Palacios was the “coyote on the cellular.” Speciiically,

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Defendant Montoya-Palacios called Dos Santos’ family and Anderson and Anderson told the family
that he wanted the money. Anderson also stated that Dos Santos could not leave until the remainder
of $43,000 was paid and he wanted the money as soon as possible. Defendant Montoya-Palacios
also gave Dos Santos the phone to speak with Anderson. Dos Santos will iiirther testify that
Defendant Juan-Perez was the “coyote” who “took people.” Dos Santos will testify he saw “a lot”
of people go through the house and that Defendant Juan~Perez would come to the room in which they
were staying, say “pronto,” and then take aliens in a truck to a different location.

4. Material witness Zapet-Alvarado will testify that he was smuggled illegally into the
United States from Guatemala and part of that smuggling included staying at Defendants’ residence
at 314 Hill Road, Trailer 5, Houston, Texas, for two days. He will further testify that he had never
been to the United States before, crossed the Rio Grande River on a boat 15 days before he was
ap prehended, walked around the Border Patrol checkpoint,t and was then taken to Houston in a truck
carrying a total often people (tive were in the bed and five were in the cab). He will further testify
that all of them were brought to Defendants’ residence and some had already left the house. Zapet
Alvarado indicated that both Defendants brought them food.

5 . Material witness Lopez~l-Iemandez will testify that his family agreed to pay
smugglers approximately $5,200 to have him transported illegally ii'om Guatemala to Florida and
that they were to pay $4,700 when he arrived in Houston and an additional $500 when he arrived in
Florida. Part of that transportation included staying at Defendants’ residence at 314 Hill Road,
'I`railer 5, Houston, Texas. He will further testify that he left Guatemala over twenty-five days
before he was apprehended, remained in Mexico for approximately 20 days with five other
undocumented aliens, and then one day he and another undocumented alien were taken across the
Rio Grande River on a rah. He will further testify that they were then taken by two guides to a stash
house in the Rio Grande Valley. He was then taken to several other stash houses. 'Ihen, he and

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other undocumented aliens were taken by a truck to the “brush” and were led around the checkpoint
until they were picked up by another truck and then taken to Houston. He arrived at Defendants’
residence on or about April 3 or 4, 2018. He will further testify that Defendant Juan-Perez called
Lope¢-Hernandec’ father and told him to pay $4,700 and an addition $500 when he arrived in
Florida.

6. The witnesses will also testify that they were housed by Defendants at 314 Hill Road,
Trailer 5, Houston, Texas as part of their payments to be smuggled into or within the United States.
All of the witnesses will also testify that they positively identified Defendants as the two individuals
from a six-person photo array as the two individuals who harbored, concealed and shielded them
from detection and assisted in making arrangements for their transportation to that location and from
that location to other locations further within the United States.

7. The witnesses will testify that they were not threatened by Defendants and did not
observe any firearms being possessed by Defendants. The witnesses will also testify that
Defendants did not deprive them of their clothes, shoes or identifications, and did not physically
prevent them from leaving the location. The witnesses will also testify that they never attempted to
leave the location such that Defendants prevented them from so doing.

8. The witnesses will testify that the location had two bedrooms and that they stayed in
and utilized one of the bedrooms (as did other smuggled aliens) while Defendants stayed in and
utilized the other bedroom.

9. The incident occurred within the Southem District of Texas.

10. Defendants stipulate and agree the witnesses may be released to their home countries.

11. Defendants recognizes they are henceforth giving up any rights they may have to

confront these witnesses even if they may later change his mind and wish to depose the witnesses.

 

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Defendants, through their attorneys, and the United States Attorney's Oflice for the Southem

District ofTexas indicate their acceptance of the above stipulation and agreement by their signatures

affixed below.

Signed and entered on this

RYAN K. PATRICK

 

United States Attomey

Southem District ofTexas

By: 7%%
Ad;m Laurence Goldman

Assistant United States Attomey

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JuAN Mor~’iToYA-PALAcros
Defenth

 

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Defendant’s counsel

 

ISABL JUAN-PEREZ

Defenth §§

ANUJ ARUN SHAH
Defendant’s counsel

day of , 2018.

 

THE HONORABLE VANESSA D. GILMORE
UNITED STATES DISTRICT JUDGE

